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 Attorneys for Defendants,
 Walmart Inc. and Jetson Electric Bikes, LLC

                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING

STEPHANIE WADSWORTH                                  )
Individually and as Parent and Legal Guardian        )
of W.W., K.W., G.W., and L.W., minor children        )
and MATTHEW WADSWORTH,                               )      Case No. 2:23-cv-00118-NDF
                                                     )
        Plaintiffs,                                  )      DEFENDANTS JETSON
                                                     )      ELECTRIC BIKES, LLC AND
v.                                                   )      WALMART INC.’S MOTION
                                                     )      FOR SUMMARY JUDGMENT;
WALMART INC. and                                     )      MEMORANDUM IN SUPPORT
JETSON ELECTRIC BIKES, LLC,                          )      OF MOTION
                                                     )
        Defendants.                                  )

        Defendants, Jetson Electric Bikes, LLC and Walmart Inc., respectfully request that this

Court grant its Motion for Summary Judgment pursuant to Federal Rules of Civil Procedure 56 as

there is no genuine issue of material fact because Plaintiffs cannot meet their burden to show that

the Jetson Plasma hoverboard caused the subject fire.

                      STATEMENT OF UNDISPUTED MATERIAL FACTS

     1. This case involves a February 1, 2022 residential fire at the Wadsworth residence in

Sweetwater County, Wyoming. (LaFlamme Dec. ¶3, Ex. 1: Plts’ Compl., Doc. 1, ¶¶3-8, 33).



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   2. Plaintiffs contend that the fire started at a Jetson Plasma hoverboard that was located near

the bedroom door for G.W. and L.W.’s bedroom. (LaFlamme Dec. ¶3, Ex. 1: Plts’ Compl. Doc. 1,

¶¶33-34; ¶4, Ex. 2: G.W. Dep. 10:10-12). Below is a diagram of the bedroom:




(LaFlamme Dec. ¶5, Ex. 3: Schulz Report, pg. 77).

   3. G.W. and L.W. were in their bunk bed sleeping when the fire occurred. (LaFlamme Dec.

¶4, Ex. 2: G.W. Dep. 17:3-10).

   4. When G.W. and L.W. woke up, there was already fire at their bedroom window (which is

directly adjacent to their bunk bed), and the window had broken. (LaFlamme Dec. ¶4, Ex. 2: G.W.

Dep. 17:3-19; ¶6, Ex. 4: L.W. Dep. 11:22-12:18).

   5. There was a smoking shed located just outside G.W. and L.W.’s bedroom window where

Mr. and Mrs. Wadsworth would smoke during the winter months to provide protection from the

cold and wind while they smoked cigarettes. (LaFlamme Dec. ¶7, Ex. 5: S. Wadsworth Dep. 68:20-

22, 71:7-9; ¶8, Ex. 6: M. Wadsworth Dep. 114:11-17).

   6. Mrs. Wadsworth smoked in the smoking shed a couple of hours before the fire was

identified. (LaFlamme Dec. ¶7, Ex. 5: S. Wadsworth Dep. 89:17-90:8).




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   7. Mrs. Wadsworth also consumed about ten alcoholic drinks the evening/morning before the

fire. (LaFlamme Dec. ¶7, Ex. 5: S. Wadsworth Dep. 62:24-64:7, 90:9-91:24).

   8. Defense experts concluded that the fire originated at the smoking shed and then spread to

the house. (LaFlamme Dec. ¶9, Ex. 7: Filas Report, pg. 3; ¶10, Ex 8: Strandjord Report, pg. 25).

   9. Plaintiffs have alleged negligence, strict liability and breach of warranty claims against

Defendants. (LaFlamme Dec. ¶3, Ex. 1: Plts’ Compl., Doc 1, pgs. 11-65).

   10. Plaintiffs generally allege that the hoverboard was “unreasonably dangerous” and that

Defendants breached their “duty to properly and adequately inspect, test, label, provide adequate

warnings for, package, distribute and/or sell the subject hoverboard.” (LaFlamme Dec. ¶3, Ex. 1:

Plts’ Compl., Doc 1, ¶¶52-54, 82-84).

   11. Defendants deny the hoverboard was dangerous or that Defendants breached any alleged

duty. (LaFlamme Dec. ¶11, Ex. 9: Jetson’s Answer & Aff. Def., Doc 18, ¶¶52-54, 82-84; see

generally, Doc 18, pgs. 8-72).

   12. Plaintiffs further contend that Defendants are strictly liable because the hoverboard “was

not properly and adequately designed, manufactured, inspected, tested, labeled, packaged,

distributed, sold or had adequate warnings.” (LaFlamme Dec. ¶3, Ex. 1: Plts’ Compl., Doc 1, ¶¶62,

93, 123, 154, 184, 215, 245, 376, 306, 337).

   13. Defendants deny they are strictly liable for the injuries alleged by Plaintiffs. (LaFlamme

Dec. ¶11, Ex. 9: Jetson’s Answer & Aff. Def., Doc 18, ¶¶62, 93, 123, 154, 184, 215, 245, 376,

306, 337).

   14. Derek King is Plaintiffs’ only fire cause expert. His opinion is that the fire was caused by

the alleged failure of two of the ten total lithium-ion battery cells in the subject hoverboard.

(LaFlamme Dec. ¶12, Ex. 10: King Report, pg. 10; ¶13, Ex. 11: King Dep. 190:20-191:9).



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    15. King contends that the specific failures in the two battery cells occurred at substantially the

same time due to an internal short circuit, which then resulted in the fire. (LaFlamme Dec. ¶12,

Ex. 10: King Report, pg. 13; ¶13, Ex. 11: King Dep. 190:20-191:9).

    16. To have an internal short circuit, the anode (negative side) and cathode (positive side) need

to communicate with each other. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 75:18-22).

    17. Each lithium-ion battery cell, however, is manufactured with a polymer-based separator

that prevents the anode and cathode from communicating. (LaFlamme Dec. ¶13, Ex. 11: King Dep.

87:25-88:14).

    18. Therefore, to have a short circuit, the separator must fail in each of the two cells.

(LaFlamme Dec. ¶13, Ex. 11: King Dep. 87:25-88:14).

    19. The appearance of a lithium-ion battery cell failure from an external fire attack (meaning

a fire that started somewhere else) is similar to cells that have allegedly failed from internal rupture.

(LaFlamme Dec. ¶13, Ex. 11: King Dep. 192:9-19).

    20. King only reviewed two deposition transcripts prior to issuing his opinion: Coryn Kremers

(Walmart’s corporate representative) and Sam Husain (Jetson’s corporate representative).

(LaFlamme Dec. ¶13, Ex. 11: King Dep. 33:8-13).

    21. King did not review any of the other 18 fact witness depositions that were taken in this

case prior to Plaintiffs’ expert disclosures before issuing his report. (LaFlamme Dec. ¶13, Ex. 11:

King Dep. 33:8-16).

    22. After issuing his report and just a few days before his deposition, King “skimmed”

Sweetwater County Sheriff Detective Sergeant Sheaman’s deposition, but acknowledged he did

not read much of it. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 33:12-34:6).




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   23. King did not review any of the body camera footage and was not aware of statements made

on that footage by the Wadsworth children or Mr. Pasborg. (LaFlamme Dec. ¶13, Ex. 11: King

Dep. 49:1-24).

   24. King only received his Professional Engineer license one year ago. (LaFlamme Dec. ¶13,

Ex. 11: King Dep. 21:4-10).

   25. King did not know that UL 2580 was the standard that applied to lithium-ion battery cells

and therefore did not consult UL 2580 at all in his analysis. (LaFlamme Dec. ¶13, Ex. 11: King

Dep. 50:23-51:1; 69:5-16).

   26. King only attended the hoverboard inspection on February 29, 2023, reviewed CT scans of

the hoverboard and visually inspected an exemplar Jetson Plasma hoverboard. (LaFlamme Dec.

¶13, Ex. 11: King Dep. 9:22-25, 65:4-16, 37:6-7).

   27. King did not participate in the May 18, 2022 site inspection, the August 2 and 3, 2022 site

inspection or the October 30, 2023 evidence inspection. (LaFlamme Dec. ¶13, Ex. 11: King Dep.

31:22-24; ¶14, Ex. 12: October 30, 2023 Lab Exam Sign-In Sheet).

   28. King did not review any of Jetson’s or Walmart’s discovery documents, which included

certifications and test records for the Jetson Plasma hoverboard and its components – including

the lithium-ion batteries. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 65:25-66:5).

   29. King did not review any photographs from the lab inspection where the electrical arcing in

the smoking shed was identified. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 197:6-9).

   30. King’s focus was only on the hoverboard and whether it had a failure. (LaFlamme Dec.

¶13, Ex. 11: King Dep. 145:3-6; 183:4-12).

   31. King did not do anything to assess whether the fire could have started at the smoking shed.

(LaFlamme Dec. ¶13, Ex. 11: King Dep. 189:25-190:3).



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   32. King acknowledged that there was arcing on wires in the smoking shed, and no arcing in

G.W. and L.W.’s bedroom or in the hoverboard. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 90:23-

92:3; 195:24-196:2).

   33. The identification of electrical arcing (i.e. arc mapping) can be used to help determine a

fire’s origin and spread. See NFPA 921 (2021 ed.) § 3.3.9. (LaFlamme Dec. ¶15, Ex. 13: NFPA

921 (2021 ed.), pg. 14).

   34. King did not know where the electrical service came into the house (it came in directly

above the smoking shed). (LaFlamme Dec. ¶13, Ex. 11: King Dep. 92:15-17).

   35. King was not aware that Mrs. Wadsworth was smoking in the shed about two hours before

the fire or that she had about ten alcoholic drinks the evening before the fire prior to going to bed

around 2:00 a.m. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 197:10-25).

   36. King acknowledged that, as an expert conducting an investigation, it is important to have

all the information about the fire loss to render an opinion. (LaFlamme Dec. ¶13, Ex. 11: King

Dep. 196:7-20).

   37. King has never had another case where two individual cells short-circuited and failed at

the same time. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 191:10-12).

   38. King has not done any research to determine the percentage of chance of two cells failing

at the same time, noting that the circumstances of his dual failure theory was “unusual” and “a

coincidence”. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 191:10-192:6).

   39. Sweetwater County Sheriff’s Office Detective Sergeant Jeff Sheaman and Green River Fire

Department Assistant Chief Bill Robinson also investigated the fire. (LaFlamme Dec. ¶16, Ex. 14:

Sheaman Dep. 36:5-10; ¶17 Ex. 15: Robinson Dep. 60:25-61:20).




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   40. Sheaman’s investigation closed on March 4, 2022. (LaFlamme Dec. ¶16, Ex. 14: Sheaman

Dep. 203:8-12, 254:10-13).

   41. Robinson’s investigation was even more short lived and was closed on February 9 2022.

(LaFlamme Dec. ¶17, Ex. 15: Robinson Dep. 51:18-52:3).

   42. Both Sheaman and Robinson initially concluded that the fire started in G.W. and L.W.’s

bedroom and originated at the hoverboard, but they both acknowledged that their conclusions were

only based on the information they had at the time (LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep.

117:17-21, 255:6-16; ¶17, Ex. 15: Robinson Dep. 156:7-157:4, 184:12-23).

   43. Sheaman agreed that his opinions are only “based on the information [he] learned up

through March 4th of 2022.” (LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 254:10-13).

   44. Sheaman has not been provided with any additional information related to this fire since

March 4, 2022. (LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 164:24-165:2).

   45. Sheaman agreed that to complete a “full and thorough origin and cause investigation under

NFPA 921 – Guide for Fire and Explosion Investigations, [he] would need to consider all evidence

that’s been uncovered.” (LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 203:8-22).

   46. Sheaman agreed that if “additional information comes to light, he would need to consider

that evidence under NFPA 921.” (LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 252:11-14).

   47. Green River Fire Department Assistant Chief Bill Robinson assisted Detective Sergeant

Sheaman with his fire investigation. (LaFlamme Dec. ¶17, Ex. 15: Robinson Dep. 62:15– 63:11).

   48. Robinson’s total investigation was limited to an approximate two-hour site visit on the day

of the fire. (LaFlamme Dec. ¶17, Ex. 15: Robinson Dep. 130:10-16).




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   49. Robinson agreed that an origin and cause investigator should continue to evaluate

additional fire evidence as it is discovered and that an investigator needs to “consider all evidence”.

(LaFlamme Dec. ¶17, Ex. 15: Robinson Dep. 129:24-130:9).

   50. Robinson was not aware of the evidence that had been identified since he ceased his

investigation when he issued his report. (LaFlamme Dec. ¶17, Ex. 15: Robinson Dep. 181:22-

182:4).

   51. Robinson did not interview any witnesses. (LaFlamme Dec. ¶17, Ex. 15: Robinson Dep.

122:15-16).

   52. Robinson did not review any of the body camera footage. (LaFlamme Dec. ¶17, Ex. 15:

Robinson Dep. 122:20-22).

   53. Robinson was not aware of the Wadsworth children’s statements after the fire that indicated

that the fire started outside. (LaFlamme Dec. ¶17, Ex. 15: Robinson Dep. 133:14-18, 180:1-4).

   54. Robinson acknowledged he would have to classify the fire origin as “undetermined” based

on additional information identified pursuant to NFPA 921 until the investigation is complete.

(LaFlamme Dec. ¶17, Ex. 15: Robinson Dep. 156:7-157:4, 179:3-15).

   55. Neither Sheaman nor Robinson attended or participated in the May 18, 2022 site

inspection, the August 2 and 3, 2022 site inspection, the October 30, 2023 evidence inspection, or

the February 29, 2024 hoverboard inspection. (LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 164:24-

16:25, 203:8-22; ¶17, Ex. 15: Robinson Dep. 144:14-24, 181:22-182:4).

   56. Sheaman and Robinson were not privy to any of the information identified during the four

additional inspections or any of the discovery conducted in this case. (LaFlamme Dec. ¶16, Ex.

14: Sheaman Dep. 203:13-22; ¶17, Ex. 15: Robinson Dep. 144:14-20).




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   57. Sheaman and Robinson are not engineers, electrical engineers or battery experts.

(LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 7:7-9:6, 18:21-19:7; ¶17, Ex. 15: Robinson Dep. 6:9-

12, 8:20-23).

                                   STANDARD OF REVIEW

       Summary judgment is appropriate where “there is no genuine dispute as to any material

fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). A dispute of

fact is genuine if a reasonable juror could resolve the disputed fact in favor of either

side. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute of fact is material

if under the substantive law it is essential to the proper disposition of the claim. Adler v. Wal–Mart

Stores, Inc., 144 F.3d 664, 670 (10th Cir. 1998). When the Court considers the evidence presented

by the parties, “[t]he evidence of the non-movant is to be believed, and all justifiable inferences

are to be drawn” in the non-movant’s favor. Anderson, 477 U.S. at 255.

       The party moving for summary judgment has the burden of establishing the nonexistence

of a genuine dispute of material fact. Lynch v. Barrett, 703 F.3d 1153, 1158 (10th Cir. 2013). The

moving party can satisfy this burden by either (1) offering affirmative evidence that negates an

essential element of the nonmoving party’s claim, or (2) demonstrating that the nonmoving party’s

evidence is insufficient to establish an essential element of the nonmoving party’s claim. See Fed.

R. Civ. P. 56(c)(l)(A)–(B).

       Once the moving party satisfies this initial burden, the nonmoving party must support its

contention that a genuine dispute of material fact exists either by (1) citing to particular materials

in the record, or (2) showing the moving party’s cited materials do not establish the absence of a

genuine dispute. See id. The nonmoving party must “do more than simply show that there is some

metaphysical doubt as to the material facts.” Matsushita Elec. Indus. v. Zenith Radio Corp., 475



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U.S. 574, 586 (1986). Rather, to survive a summary judgment motion, the nonmoving party must

“make a showing sufficient to establish the existence of [every] element essential to that party’s

case, and on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477

U.S. 317, 322 (1986). Further, when opposing summary judgment, the nonmoving party cannot

rest on allegations or denials in the pleadings but must set forth specific facts showing that there

is a genuine dispute of material fact for trial. See Travis v. Park City Mun. Corp., 565 F.3d 1252,

1258 (10th Cir. 2009).

       The moving party has no burden to negate or disprove matters on which the non-moving

party will have the burden of proof at trial. The moving party need only point out to the Court that

there is an absence of evidence to support the non-moving party’s case. See Celotex, 477 U.S. 317

at 325. If the nonmoving party fails to produce enough evidence to create a genuine issue of

material fact, the moving party wins the motion for summary judgment.” Id. at 322. The non-

moving party must make an affirmative showing on all matters in issue by the motion as to which

it has the burden of proof at trial. Id. at 325. Summary judgment is appropriate here and should be

granted where Plaintiffs cannot establish by admissible factual or scientific evidence that the Jetson

Plasma hoverboard caused the subject fire. Id. at 322.

                                      LEGAL STANDARDS

       To establish a prima facie claim for strict product liability, plaintiffs must prove (1) that

the sellers were engaged in the business of selling the product that caused the harm; (2) that the

product was defective when sold; (3) that the product was unreasonably dangerous to the user or

consumer; (4) that the product was intended to and did reach the consumer without substantial

change in the condition in which it was sold; and (5) that the product caused physical harm to the

plaintiff /consumer. Loredo v. Solvay American, Inc., 2009 WY 93, ¶12, 212 P.3d 614, 633; Rohde



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v. Smiths Medical, 2007 WY 134, ¶18, 165 P.3d 433, 437 (Wyo. 2007). Proof of defect and

causation must be provided by expert testimony where the question is beyond the experience of

the average layperson. Truck Ins. Exchange v. MagneTek, Inc., 360 F.3d 1206, 1214, 63 Fed. R.

Evid. Serv. 948, Prod.Liab.Rep. (CCH) P 16, 918.

         To prevail on a negligence claim, a plaintiff is required to prove all four of the following

elements: (1) duty; (2) breach of the duty; (3) causation; and (4) damages. Loredo v. Solvay

American, Inc., 2009 WY 93, ¶12, 212 P.3d 614, 622 (citing Franks v. Indep. Prod. Co., Inc., 2004

WY 97, ¶9, 96 P.3d 484, 489 (Wyo. 2004)).

         For a breach of warranty claim, a plaintiff is required to prove all four of the necessary

elements: (1) the existence of a warranty, (2) breach of a warranty, (3) the breach proximately

caused the losses claimed, and (4) defendant received timely notice of the breach. “See Platt v.

Winnebago Industries, Inc., 960 F.3d 1264, 1271, 101 UCC Rep.Serv.2d 1603 (10th Cir. 2020).

         Finally, punitive damages are only available when a plaintiff proves, by preponderance of

the evidence that the particular defendant acted with intentional, willful and wanton misconduct.

See Wyo. Civ. Pattern Jury Instructions 4.06.

                                                   ARGUMENT

         Plaintiffs’ claims against Defendants fall into three basic categories that largely overlap: 1)

strict liability1, 2) negligent product liability, and 3) breach of warranty. (LaFlamme Dec. ¶3, Ex.

1, See generally Plts’ Compl., Doc 1). Each of these claims have causation as a common element.




1
  Breach of warranty claims made in the context of product liability are akin to a claim for strict liability. See e.g.
Schneider Nat., Inc. v. Holland Hitch Co., 843 P.2d 561, 583 (Wyo. 1992) (“The product liability action for breach of
warranty … is a misunderstood form of strict liability whose inclusion in product liability cases is often a matter of
form.”). Thus, the analysis provided below regarding Plaintiffs’ inability to prove their strict liability claim due to a
failure to prove the existence of a defect resulting in cause applies equally to any breach of warranty claim asserted
by Plaintiffs. See e.g. McLaughlin v. Michelin Tire Corp., 778 P.2d 59, 65 (Wyo. 1989) (summary judgment on claim
for implied warranty of merchantability properly granted where record showed no proof of defect in tire).

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        Plaintiffs’ claims against Defendants primarily relate to the design, manufacture, warnings,

distribution, and sale of the subject hoverboard. (LaFlamme Dec. ¶3, Ex. 1, See generally Plts’

Compl., Doc 1). Plaintiffs, however, cannot meet their burden as they do not have any expert

witness that can offer an opinion that the hoverboard caused the fire within the requirements of

Fed. R. Evid. 702. As a result, summary judgment under Fed. R. of Civ. P. 56 is appropriate.

I.      CAUSATION IS A COMMON ELEMENT TO ALL OF PLAINTIFFS’ CLAIMS
        AND PLAINTIFFS CANNOT MEET THEIR BURDEN ON CAUSATION.

     A. King’s causation opinion fails to satisfy the reliability standard for admissibility.

        The Supreme Court has made clear that “where [expert] testimony’s factual basis, data,

principles, methods, or their application are called sufficiently into question ... the trial judge must

determine whether the testimony has ‘a reliable basis in the knowledge and experience of [the

relevant] discipline.’” Goebel v. Denver & Rio Grande W. R. Co., 346 F.3d 987, 991 (10th Cir.

2003) (quoting Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 149 (1999)).

        The expert requirement to establish the cause of a fire was discussed extensively in Truck

Ins. Exch. v. MagneTek, Inc., 360 F.3d 1206 (10th Cir. 2004). In that case, a fire destroyed a

restaurant in Lakewood, Colorado. Id. at 1207. The plaintiff claimed that the light ballast

manufactured by defendant MagneTek caused the fire. Id. Wood normally will not catch fire until

exposed to a heat source of about 400°. Id. at 1215. The evidence was that the maximum

temperature the ballast could have reached was 340°. Id. The plaintiff’s expert, Dr. Romig,

however, opined that heat from the ballast was sufficient to cause wood materials in the ceiling to

catch fire – despite the fact that it was below the 400° combustible threshold. Id. at 1211. Romig

posited the theory of pyrolysis, which hypothesizes that wood can catch fire at temperatures below

400° if it is exposed to such temperatures over a long enough period of time. Id. at 1209. The

district court found that Romig’s theory was unreliable and it had not been reliably applied to the

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facts of the case. Id. at 1211. Specifically, the Tenth Circuit Court of Appeals found that Romig’s

opinion lacked a showing of evidence of peer viewed testing, applicable rate of error, and that the

scientific community questioned Romig’s theory. Id. at 1212-13.

        The    district   court    ultimately   excluded     Romig’s     expert    testimony.    Id.

Without expert testimony showing that the ballast could have reached temperatures approaching

400° or that wood can catch fire below that temperature, the district court concluded that without

such evidence, plaintiff could not establish causation, an essential element of all its claims, and

granted summary judgment. Id.at 1209. Similar to the Truck Ins. Exch. case, here, Plaintiffs only

named one expert to address causation: Derek King. (LaFlamme Dec. ¶19, Ex. 17: Plts’ Initial

Expert Witness Discl. Doc 73-3).

        As an initial matter, King is not qualified to offer any opinions on whether the lithium-ion

battery cells in the subject hoverboard caused the fire because he does not have the necessary

knowledge, skill, experience, training, or education. King has never been an identified expert under

Rule 26 or any equivalent state civil procedure rules for an alleged lithium-ion battery fire case.

(LaFlamme Dec. ¶13, Ex. 11: King Dep. 16:14-18). King has never worked for a company that

designed or manufactured lithium-ion battery products nor has he ever personally designed or

manufactured, or been involved in the design or manufacture, a lithium-ion battery product.

(LaFlamme Dec. ¶13, Ex. 11: King Dep. 20:15-25). King also only received his Professional

Engineer license one year ago. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 21:4-10). He did not even

know that UL 2580 was the standard that applied to lithium-ion battery cells and therefore did not

consult UL 2580 at all in his analysis. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 50:23-51:1, 69:5-

16).




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        Further, other courts have excluded or limited King’s opinions on multiple occasions.

(LaFlamme Dec. ¶13, Ex. 11: King Dep. 27:9-13; see Ibarra v. Further Motion, Inc., No. 22-cv-

14067, 2023 LEXIS 79285, at *24-25 (S.D. Fla. May 1, 2023) (excluding King’s opinions “that

design alternatives could include software modifications, as well as the opinion that there is the

likelihood of a defect in the source code based upon the number of lines of code . . . [because the

opinions were] speculative, and therefore, unreliable); Ex. 5: Bettencourt v. Sharkninja Operating

LLC., No. 22-cv-09091, 2024 LEXIS 111877 at *19-21 (N.D. Cal. June 25, 2024) (excluding

three of King’s five opinions because they were “unsupported speculation,” “not based on a body

of known facts or . . . ideas inferred from such facts or accepted as true” and therefore unreliable);

see generally, Moore v. National Presto Industries, Inc., 603 F. Supp. 3d 676 (W.D. Wisc. 2022)

(granting summary judgment in favor of defendants because King’s opinions were not based on

sufficient facts and data and he failed to use reliable methods)).

        Despite this, Plaintiffs have identified King as their sole causation expert. (LaFlamme Dec.

¶18, Ex. 16: Plts’ Initial Expert Witness Discl. Doc. 73). King is not an origin and cause expert, is

not a certified fire investigator, and is not a certified fire and explosion investigator. (LaFlamme

Dec. ¶13, Ex. 11: King Dep. 30:15-20). Further, King is not offering any opinion as to the origin

of the fire and does not intend to testify at trial as to any issues related to the origin of the fire at

the Plaintiffs’ residence. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 30:15–32:6).

        King’s alleged causation opinion is that two individual – and separately manufactured –

battery cells in the Jetson Plasma hoverboard ruptured separately, but nearly simultaneous, due to

an internal short and caused the subject fire. (LaFlamme Dec. ¶12, Ex. 10: King Report, pgs. 10,

13; Ex. 11: King Dep. 190:15-191:9). Therefore, even if King may have a sufficient background

to discuss the alleged dual lithium-ion battery cell failure theory, his analysis, nonetheless, fails to



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meet the reliability standard pertaining to “scientific knowledge.” See Goebel, 346 F.3d at 991-92.

“To be reliable, an expert’s scientific testimony must be based on scientific knowledge, which

‘implies a grounding in the methods and procedures of science’ based on actual knowledge, not

mere ‘subjective belief or unsupported speculation.’” Id. (quoting Daubert v. Merrell Dow Pharm.,

Inc., 509 U.S. 579, 590 (1993)).

       Here, King’s opinions are pure litigation constructs and unreliable as he uses no peer

reviewed or scientific methodology to reach his conclusions. (LaFlamme Dec. ¶13, Ex. 11: King

Dep. 192:4-6, 198:1-199:24). He did no testing to support his opinions. (LaFlamme Dec. ¶13, Ex.

11: King Dep. 106:12-14). As a result, no objective examination of his opinions can be conducted,

and they are incapable of scientific scrutiny. In fact, even King acknowledged that his opinion

lacks reliable scientific testing to determine when a lithium-ion battery cell is the cause of a fire as

opposed to a victim of a fire because battery cells can fail when they are subject to an external

attack. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 190:7-10). More to the point, the appearance of a

lithium-ion battery cell failure from an external fire attack is similar to cells that have allegedly

failed from internal rupture. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 192:9-19). (See e.g.,

Nagourney, T., Jordan J. Marsh, L. et al, The Implications of Post-Fire Physical Features of

Cylindrical 18650 Lithium-Ion Battery Cells, Fire Technol 57, 1707-1722 (2021)

(https://doi.org/10.1007/s10694-020-01077-8)).

       Remarkably, King’s opinion also is not limited to a single cell failure in the Jetson Plasma

hoverboard. Rather, King opined that two individual cells, which were individually manufactured,

short-circuited and failed nearly simultaneously. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 190: 20-

191:9). To understand how unusual this opinion is, it is important to understand how a short circuit

occurs. To have a short circuit, the anode (negative side) and cathode (positive side) need to



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communicate with each other. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 75:18-22). Each lithium-

ion battery cell, however, is manufactured with a polymer-based separator that prevents the anode

and cathode from communicating. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 87:25-88:14).

Therefore, to have a short circuit, the separator must fail. (LaFlamme Dec. ¶13, Ex. 11: King Dep.

88:11-14). For King’s theory to be correct, there would need to be two separately manufactured

cells (cells 4 and 10) that had an identical failure with the separator at virtually the same time.

(LaFlamme Dec. ¶13, Ex. 11: King Dep. 88:25-90:6).

       King has never had another case where two individual cells short-circuited and failed at

the same time. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 191:10-12). King has not done any

research to determine the percentage of chance of two cells failing at the same time, noting that

the circumstances of his dual failure theory were “unusual” and “a coincidence”. (LaFlamme Dec.

¶13, Ex. 11: King Dep. 191:10-192:6 (emphasis added)). King also did not review critical evidence

prior to arriving at this opinion. King did not review the majority of the depositions taken in this

case. Incredulously, the only depositions King reviewed prior to drafting his report were those of

the corporate representatives of Walmart and Jetson. (LaFlamme Dec. ¶13, Ex. 11: King Dep.

33:8-13).

       Additionally, King also failed to review a number of relevant documents in this case,

including Jetson’s and Walmart’s respective document productions, which included the applicable

Underwriters Laboratories’ test reports and/or certification records for the hoverboard and its

components. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 65:25-66:5). King acknowledged he

normally would have requested to see the Defendants’ document productions; however, his focus

was only on the hoverboard and whether it had a failure. (LaFlamme Dec. ¶13, Ex. 11: King Dep.

68:12-15). King also did not review any photographs from the lab inspection where the arcing in



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the smoking shed was identified. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 197:6-9). Simply put,

King was not provided the full discovery record – or even a majority of the discovery record – to

consider in formulating his opinions.

       Because King did not conduct a proper investigation, ignored facts, used no scientific peer

reviewed methodology and has done no testing, his opinions fall outside the realm of science and

lack any indicia of reliability. Becerra v. Schultz, 499 F. Supp. 3d 1142, 1147 (D. Wyo. 2020)

(unsupported conjecture is inadmissible). As such, King’s opinions are unreliable under Fed. R.

Evid. 702, as his opinion that the fire started at the hoverboard due to the near simultaneous internal

short-circuits of two separately and independently manufactured battery cells does not “reliably

flow from . . . the facts at issue” and must be excluded. Bunting v. Jamieson, 984 P.2d 467, 471

(Wyo. 1999) (quoting Heller v. Shaw Industries, Inc., 167 F.3d 146, 152 (3rd Cr. 1999)); see also

Becerra v. Schultz, 499 F. Supp. 3d 1142, 1147 (D. Wyo. 2020) (unsupported conjecture is

inadmissible).

       Defendants have concurrently filed a Fed. R. Evid. 702 Daubert motion on King’s expert

opinions and incorporate the arguments made therein by reference. Without expert testimony as to

causation (i.e., whether or not two separately and independently manufactured battery cells

simultaneously failed at the same time resulting in the fire), Plaintiffs are unable to prove the

causation element, which is a common element for all of their claims against Defendants. As a

result, summary judgment is appropriate. Truck Ins. Exchange v. MagneTek, Inc., 360 F.3d 1206,

1214, (10th Cir. 2004) (when the question is beyond the experience of the average layperson, expert

testimony is required to prove causation).

   B. Plaintiffs Cannot Circumvent King’s Inadmissible Opinion Testimony Through Non-
      Expert Designated Witnesses Jeff Sheaman and Bill Robinson.




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       Moreover, even if Plaintiffs contend that they can prove causation through Sweetwater

County Sheriff’s Office Detective Sergeant Jeff Sheaman and/or Green River Fire Department

Assistant Chief Bill Robinson, Plaintiffs still cannot meet their burden on causation as neither

Sheaman nor Robinson should be permitted to offer any fire origin and cause opinions because:

(1) their opinions are unreliable due to their limited investigations; and (2) they were not

designated as experts by Plaintiffs.

           i. Sheaman and Robinson’s causation opinions are unreliable.

       Courts readily accept NFPA 921 as a barometer for determining the reliability of methods

used by fire investigation experts. Philmar Dairy, LLC v. Armstrong Farms, No. 18-CV-0530

SMV/KRS, 2019 WL 3070588, at *9 (D.N.M. July 12, 2019) (collecting cases). When expert

testimony fails to comply with NFPA 921 where the expert explicitly relies on NFPA 921 in

reaching their conclusions, courts frequently exclude that testimony. See Schlesinger v. United

States, 898 F.Supp.2d 489, 504 (E.D.N.Y. 2012). When NFPA 921 principles and methods are not

applied, their opinions may be excluded as unreliable. See Fireman’s Fund Ins. Co. v. Canon

U.S.A., Inc., 394 F.3d 1054, 1060 (8th Cir. 2005); see also Presley v. Lakewood Engineering and

Mfg. Co., 553 F.3d 638 (8th Cir. 2009).

       Sheaman and Robinson both agree that in order to complete a full and thorough origin and

cause investigation under NFPA 921, they would need to consider all evidence that’s been

uncovered. (LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 203:17-22; ¶17, Ex. 15: Robinson Dep.

106:15-20). Further, they both agreed that if additional information came to light, they would need

to consider it. (LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 252:11-14; ¶17, Ex. 15: Robinson Dep.

129:24-130:9). Neither Sheaman nor Robinson, however, participated in any of the four follow up

inspections on May 18, 2022, August 2-3, 2022, October 30, 2023, and February 29, 2024.



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(LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 164:23-165:2, 203:8-22; ¶17, Ex. 15: Robinson Dep.

144:14-24, 181:22-182:4). Neither Sheaman nor Robinson reviewed or were provided any

additional information after they closed their respective files on March 4, 2022 and February 9,

2022. (LaFlamme Dec. ¶16, Ex. 14: Sheaman Dep. 164:24-165:2, 203:8-22; ¶17, Ex. 15:

Robinson Dep. 51:18-52:3). Further, both Sheaman and Robinson are not electrical engineers nor

are they lithium-ion battery experts. (LaFlamme Dec¶16, Ex. 14: Sheaman Dep. 7:7-9:2, 18:21-

19:7; ¶17, Ex. 15: Robinson Dep. 6:9-12, 8:20-23).

       Defendants have also filed Fed. R. Evid. 702 Daubert motions to bar any origin and cause

opinion testimony from Sheaman and Robinson, and the argument presented in those motions are

incorporated further herein. Based on the above, as well as the contemporaneously filed Fed. R.

Evid. 702 Daubert motions, Sheaman and Robinson’s origin and cause opinions are unreliable and

should be barred by this Court.

           ii. Plaintiffs have not designated Sheaman or Robinson as retained or non-
               retained origin and cause experts.

       Moreover, Plaintiffs have not designated Sheaman or Robinson as retained or non-retained

experts and they, therefore, cannot elicit expert opinion testimony from them to revive their claim.

       The Court’s Order on Initial Pretrial which specifically states:

          In accordance with U.S.D.C.L.R. 26.1(g), the plaintiff shall designate expert
          witnesses and provide the defendant with a complete summary of the
          testimony of each expert by June 14, 2024... These summaries shall include
          a comprehensive statement of the expert's opinions and the basis for the
          opinions. See Smith v. Ford Motor Company, 626 F.2d 784 (10th Cir. 1980)
          ….

(Doc. 48). The Court entered a “text only” Order on May 13, 2024, extending the Plaintiffs’ and

Defendants’ designation deadlines by 30 days to July 15, 2024 and September 13, 2024,




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respectively. (Doc 70). Plaintiffs filed their expert disclosures consistent with the text only order

on July 15, 2024. (Doc 73). Plaintiffs did not identify Sheaman or Robinson as experts.2

         Parties are required to provide “a complete summary of the testimony expected from each

expert,” even for non-retained experts, including investigators, (Doc 48 at 3); see also Wapiti Corp.

v. Thorcon Shotcrete & Shoring, LLC, No. 22-CV-175-F, 2023 WL 4893544, at *3 (D. Wyo. Apr.

11, 2023) (“Each expert, even a non-retained expert, must provide the subject matter and a

summary of the facts and opinions to which the expert will testify”).

         Because Plaintiffs have not designated Sheaman or Robinson as retained or non-retained

experts, they cannot use their causation opinions to revive their claim even if they are admissible

– which they are not as described above.

II.      IRRESPECTIVE OF THE ABOVE CAUSTION ARGUMENTS, DEFENDANTS
         ARE STILL ENTITLED TO SUMMARY JUDGMENT ON PLAINTIFFS’ STRICT
         LIABILITY DESIGN DEFECT CLAIM.

      A. Plaintiffs have not retained any expert to offer any design defect opinions in this case.

         Plaintiffs have only identified Michael Schulz (fire origin) and Derek King (fire cause) as

their liability experts. See Plts’ Initial Expert Witness Disc. (Doc 73). Neither have issued any

opinions that the hoverboard was defectively designed. (LaFlamme Dec. ¶5, Ex. 3: Schulz Report;

¶12, Ex. 10: King Report). In fact, Schulz’ opinion is limited to fire origin, and he does not have

any opinions related to the cause of the fire. (LaFlamme Dec. ¶20, Ex. 18: Schulz Dep. 145:8-10).

         King’s opinion is that two separate and independently manufactured lithium-ion battery

cells had separators that failed which allowed the anode and cathode to communicate and cause an

internal short circuit – which supposedly lead to the fire. (LaFlamme Dec. ¶12, Ex. 10: King


2
 In a November 18, 2024 Order, this Court denied Plaintiffs’ Motion to Amend Expert Disclosures (to add previously
undisclosed experts). This Court held that Plaintiffs have not shown good cause to name additional experts nor would
permitting Plaintiffs to name additional non-retained experts be justified or harmless. (LaFlamme Dec. ¶21, Ex. 19:
Order Denying Plts’ Motion to Amend Expert Discl. Doc 93, pgs. 14-15).

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Report; ¶13, Ex. 11: King Dep. 190:20-191:9). This is a manufacturing defect opinion. King does

not offer any opinions that the battery cells were improperly designed. (LaFlamme Dec. ¶12, Ex.

10: King Report). In fact, King did not even know what UL standard applied to the individual

battery cells, let alone that the battery cells in the hoverboard were subjected to testing in order to

receive UL 2580 listing. (LaFlamme Dec. ¶13, Ex. 11: King Dep. 50:23-51:1, 69:5-16, 140:19-

25).

        Plaintiffs have not identified any expert to support a strict liability design defect claim.

Undoubtedly, the design of lithium-ion battery cells and/or a hoverboard is an area that requires

expert testimony. Without such testimony, Plaintiffs cannot meet their burden of proof and

Plaintiffs’ design defect claim should be dismissed.

               i. Plaintiffs have not retained any expert to offer testimony to support their
                  failure to warn claims.

            Plaintiffs must provide expert testimony to support a negligent or strict liability failure to

warn claim. Smith v. Sears Roebuck and Co., 232 Fed.Appx. 780, FN 1, 2007 WL 1252487 (that

without the testimony of an expert witness, plaintiff could not prove her claims [] for products

liability     or negligence based        on   failure     to   warn).   When   the standard of       care

is outside the common knowledge and experience of ordinary persons, both the standard of care

and the defendant’s failure to adhere to that standard must be established by

the expert opinion testimony of a qualified expert witness. Raup v. Vail Summit Resorts, Inc., 233

F.Supp.3d 934, 94.

        Here, UL sets forth the standard for labels and warnings on hoverboards to comply with

UL 2272 – the UL listing applicable to hoverboards. (LaFlamme Dep. ¶22, Ex. 20: Husain Dep.

31:19-32:23). Again, Plaintiffs only named fire origin (Michael Schulz) and fire cause (Derek

King) as liability experts. Neither of these experts discuss warnings, nor do they have the proper

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background to address a failure to warn claim. Failure to warn claims are commonly supported by

human factors experts. Plaintiffs have not named any human factors expert to support their failure

to warn claims. Moreover, Plaintiffs have not even identified what warnings they believe are

insufficient. In fact, neither of their liability experts discuss the issue of warnings at all.

          Without the necessary expert testimony, Plaintiffs cannot meet their burden of proof on the

failure to warn claims and, as such, the failure to warn claims should be dismissed.

III.      PLAINTIFFS ARE NOT ENTITLED TO PUNITIVE DAMAGES.

          Punitive damages are only proper in cases where “wanton and willful misconduct is

alleged.” Verschoor v. Mountain West Farm Bureau Mut. Ins. Co., 907 P.2d 1293, 1301 (Wyo.

1995) (citing Danculovich v. Brown, 593 P.2d 187, 191 (Wyo. 1979)). “Wanton and willful

conduct ‘must be more than mere mistake resulting from inexperience, excitement or confusion,

and more than mere thoughtlessness or inadventure, or simple inattention.’” Verschoor, 907 P.2d

at 1301. Punitive damages are to be awarded at the discretion of the trial court because a plaintiff

has no right to punitive damages. Sheridan Commercial Park, Inc. v Briggs, 848 P.2d 811, 818

(Wyo. 1993).

          As the Danculovich Court states, “[t]he intent in willful and wanton misconduct is not an

intent to cause the injury, but it is an intent to do an act, or an intent to not do an act, in reckless

disregard of the consequences, and under such circumstances and conditions that a reasonable man

would know, or have reason to know, that such conduct would, in a high degree of probability,

result in substantial harm to another.” 593. P.2d 187, 193 (citing Mitchell v. Walters, 55 Wyo. 317,

100 P.2d 102 (1940); 57 Am.Jur.2d, Negligence, s 101, p. 707).

       A. Plaintiffs Cannot Prove any Willful or Wanton Conduct Against Jetson.




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       Here, Plaintiffs have not only failed to provide any admissible expert testimony to support

its claim that the Jetson Plasma caused the subject fire, but Plaintiffs have also failed to show that

Jetson’s conduct in distributing and selling the hoverboard was “willful and wanton” such that it

would be highly unreasonable or an extreme departure from ordinary care. Danculovich, 593 P.2d

187, 191 (Wyo. 1979). In fact, Plaintiffs make no allegation that Jetson’s conduct was willful or

wanton in their Complaint. See generally Complaint. Rather, Plaintiffs only make a general plea

for an award of punitive damages in its Prayer for Relief. Id. Plaintiffs can point to no action or

inaction on the part of Jetson that rises to the level of conduct necessary to impose the penalty of

punitive damages.

       Jetson purchases its hoverboard in a sealed box from the product manufacturer. (LaFlamme

Dec. ¶22, Ex. 20: Husain Dep. 141:7-13). When the hoverboards arrive at Jetson’s warehouse in

California from the Chinese product manufacturer, they are already packaged in a sealed and taped

box, ready to be distributed for sale. (LaFlamme Dec. ¶22, Ex. 20: Husain Dep. 142:3-13). Jetson

does not box or package the hoverboards for distribution to its retail partners. (LaFlamme Dec.

¶22, Ex. 20: Husain Dep. 141:7-13). Each hoverboard arrives at the California warehouse ready

for distribution. (LaFlamme Dec. ¶22, Ex. 20: Husain Dep. 142:3-7). Further, each hoverboard

model is tested by UL to ensure it is certified consistent with UL 2272, the standard for

hoverboards. (LaFlamme Dec. ¶22, Ex. 20: Husain Dep. 74:1-75:4, 143:19-23).

       Jetson also hired a third-party independent testing firm, TestCoo, to perform spot

inspections on the subject model hoverboard. (LaFlamme Dec. ¶22, Ex. 20: Husain Dep. 78:16-

24). Testcoo’s “spot inspections” occur in China at the manufacturing plant. (LaFlamme Dec. ¶22,

Ex. 20: Husain Dep. 78:16-79:3). Testcoo physically plugs the product in, checks all the details,

and ensures that the product is consistent with the UL 2272 certification. (LaFlamme Dec. ¶22,



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Ex. 20: Husain Dep. 150:18-151:7). Jetson further conducts inquiries with UL on potential product

manufacturers to determine if they have experienced any violations and what products have been

produced and certified. (LaFlamme Dec. ¶22, Ex. 20: Husain Dep. 79:21-80:8). Jetson also

performs a factory visit and audit to check on the manufacturing plant and component suppliers

prior to engaging with them to purchase products. (LaFlamme Dec. ¶22, Ex. 20: Husain Dep.

79:21-80:8).

       Therefore, Plaintiffs have failed to show that Jetson’s conduct in distributing and selling

the hoverboard rose to a level deemed “willful and wanton” such that it would be highly

unreasonable or an extreme departure from ordinary care. Danculovich, 593 P.2d 187, 191 (Wyo.

1979). As such, Plaintiffs punitive damage claim against Jetson should be dismissed.

   B. Plaintiffs Cannot Prove any Willful or Wanton Conduct Against Walmart.

       Similarly, Plaintiffs cannot show willful or wanton conduct against Walmart. Specifically,

Plaintiffs have failed to show that Walmart’s conduct in purchasing hoverboards from the

distributor, Jetson, and subsequently selling them to consumers rose to a level deemed “willful and

wanton” such that it would be highly unreasonable or an extreme departure from ordinary care.

Danculovich, 593 P.2d 187, 191 (Wyo. 1979).

       Walmart partners with its suppliers to provide different products, including the Jetson

Plasma hoverboard, to consumers through its retail stores. (LaFlamme Dec. ¶23, Ex. 21: See

generally Kremers Dep. 95:24-96:3, 97:23-98:2). To be a supplier partner, Walmart requires all

general merchandise products, including the Jetson Plasma model hoverboard, to be tested prior

to initial sale and annually through one of Walmart’s five approved third-party lab organizations.

(LaFlamme Dec. ¶23, Ex. 21: Kremers Dep. 11:9-16). Walmart further requires that all micro-




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mobility products, including the Plasma model hoverboard, meet and be listed to UL 2272

standards. (LaFlamme Dec. ¶23, Ex. 21: Kremers Dep. 26:15-27:4).

       Further, Walmart monitors all Consumer Product Safety Commission (“CPSC”) recalls

and safety warnings so they are able to respond appropriately to any concerns with a product sold

through Walmart. (LaFlamme Dec. ¶23, Ex. 21: Kremers Dep. 61:4-14). Additionally, Walmart

relies on the UL 2272 listing, the product manufacturer, distributor, and laboratories to advise

Walmart regarding any safety concerns with a consumer product. (LaFlamme Dec. ¶23, Ex. 21:

Kremers Dep. 77:5-14).

       Given the above, Plaintiffs cannot show that Walmart’s conduct in selling the hoverboard

to consumers rose to a level deemed “willful and wanton” such that it would be highly

unreasonable or an extreme departure from ordinary care. Danculovich, 593 P.2d 187, 191 (Wyo.

1979). As such, Plaintiffs punitive damage claim against Walmart should also be dismissed.

                                       CONCLUSION
       This Court should grant Defendants’ instant motion for summary judgment and dismiss all

claims against Defendants as a matter of law because Plaintiffs cannot meet their burden of proof

to establish the essential causation element of liability as alleged. Moreover, Plaintiffs have not

put forth any expert testimony to support their alleged design defect and failure to warn claims.

Finally, Plaintiffs also cannot meet their burden that either Defendant acted with willful or wanton

conduct that would warrant a punitive damages consideration.

 Attorneys for Defendants Walmart Inc. and Jetson Date: November 26, 2024




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                                             McCOY LEAVITT LASKEY LLC

                                             Attorneys for Defendants, Jetson Electric Bikes,
                                             LLC and Walmart Inc.


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                                CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on December 2, 2024, a true and correct copy of the foregoing

was electronically served to all counsel of record.




                                                      EUGENE M. LaFLAMME, Esq.




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